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                             EXHIBIT A
                            (Form AO240)

Application To Proceed In District Court Without Prepaying Fees or Costs
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)


                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                            District of
                                                        __________      Massachusetts
                                                                     District  of __________

                    Lyudmila S. Maslyakova                                    )
                          Plaintiff/Petitioner                                )
                                   v.                                         )      Civil Action No.       18-cv-12059
Supreme Judicial Court of the Commonwealth of Mass.                           )
                        Defendant/Respondent                                  )


        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of perjury:

         1. If incarcerated. I am being held at:                                   na                                  .
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. If not incarcerated. If I am employed, my employer’s name and address are:
 Retired senior citizen on public assistance.



My gross pay or wages are: $                  pension               , and my take-home pay or wages are: $            pension   per
 (specify pay period)                    na                  .

          3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

       (a) Business, profession, or other self-employment                            ’   Yes                   ✔ No
                                                                                                               ’
       (b) Rent payments, interest, or dividends                                     ’   Yes                   ✔ No
                                                                                                               ’
       (c) Pension, annuity, or life insurance payments                              ’   Yes                   ✔ No
                                                                                                               ’
       (d) Disability, or worker’s compensation payments                             ’   Yes                   ✔ No
                                                                                                               ’
       (e) Gifts, or inheritances                                                    ’   Yes                   ✔ No
                                                                                                               ’
       (f) Any other sources                                                         ✔
                                                                                     ’   Yes                   ’ No

         If you answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
 Retired Senior Citizen in her 70's
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)



          4. Amount of money that I have in cash or in a checking or savings account: $                              government rate       .

         5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):
                     nominal value




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):



                    not needed for consideration




        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

                      na




          8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):


                         (unknown)


                                                                                             * This is a retired senior citizen in her 70's
                                                                                               living on government's pension.

       Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.


Date:             10/03/2018                                                                /s/ Lyudmila S. Maslyakova (by counsel)
                                                                                                            Applicant’s signature

                                                                                                 Lyudmila S. Maslyakova /ilya liviz Esq.
                                                                                                               Printed name
